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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:12-cr-00207
                                    )
v.                                  )                 Honorable Janet T. Neff
                                    )
RYAN NEWTON-ELLIS BASORE,           )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on December 12, 2012, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Ryan Newton-Ellis Basore entered a plea of guilty to Counts One and Seven of

the Indictment in exchange for the undertakings made by the government in the written plea

agreement. In Counts One and Seven of the Indictment, defendant is charged with conspiracy to

manufacture 100 or more marijuana plants in violation of 21 U.S.C. §§ 846, 841(a)(1) and

841(b)(1)(B)(vii); and manufacture of 100 or more marijuana plants within 1000 feet of a school in

violation of 21 U.S.C. §§ 860, 841(a)(1) and 841(b)(1)(B)(vii). On the basis of the record made at

the hearing, I find that defendant is fully capable and competent to enter an informed plea; that the

plea is made knowingly and with full understanding of each of the rights waived by defendant; that

it is made voluntarily and free from any force, threats, or promises, apart from the promises in the
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plea agreement; that the defendant understands the nature of the charge and penalties provided by

law; and that the plea has a sufficient basis in fact.

                I therefore recommend that defendant's plea of guilty to Counts One and Seven of

the Indictment be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: December 14, 2012                                   /s/ Ellen S. Carmody
                                                         ELLEN S. CARMODY
                                                         United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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